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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                    3/11/2019


JONATHAN SCHWARTZ,

                                            Plaintiff,                   17-CV-04124 (SN)

        -against-                                                             ORDER

SENSEI, LLC,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

        In a letter dated March 8, 2019, Plaintiff seeks leave to serve Defendant Sean Daniel

McDevitt via alternative service under CPLR § 308(5). See ECF No. 69. The Court finds that

alternative service is warranted and grants Plaintiff leave to serve Defendant McDevitt via post

mail and the electronic methods outlined below.

        Plaintiff reports that his process server has attempted to call Defendant McDevitt to

confirm his address, and that although Defendant McDevitt said he has moved from his last

known address, Defendant McDevitt has refused to provide an updated address. Id. Plaintiff’s

attorney and process server have gone through an exhaustive search—including a skip trace and

a search of court records, news coverage, press releases, and social media—all of which have

failed to identify a new address or have indicated that Defendant McDevitt still resides at 4106

Todville Road, Seabrook, Texas 77586. Id. Plaintiff’s process server has been unable to effect

service at that address due to a prominent “no trespassing” sign. Id.

        These circumstances warrant alternative service via electronic methods. See Snyder v.

Alternate Energy, Inc., 857 N.Y.S.2d 442 (N.Y.C. Sup. Ct. 2008) (approving service via email
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and regular mail); see also Constitution Pipeline Co., LLC v. A Permanent Easement for 0.37

Acres, 2015 U.S. Dist. LEXIS 91577, at *10 (N.D.N.Y. July 14, 2015) (finding alternative

service not warranted because despite no trespassing signs the process server made no further

inquiries or efforts to serve defendant).

       Plaintiff is granted leave to serve Defendant McDevitt through every known internet

account, including but not limited to: e-mail, text message, iMessage, WhatsApp, and Twitter.

Plaintiff shall send a message to all known internet accounts that prominently indicates in the

subject line or the top of the message that the message includes legal papers that should be read

immediately. Plaintiff shall additionally mail service via regular mail to 4106 Todville Road,

Seabrook, Texas 77586.

SO ORDERED.




DATED:         March 11, 2019
               New York, New York




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